         Case:4:22-cv-02833-HSG
        Case    23-15863, 09/05/2023, ID: 12786724,
                                   Document         DktEntry:
                                             16 Filed 09/06/239, Page
                                                                  Page11ofof11




                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          SEP 5 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
PG&E CORPORATION; PACIFIC GAS &                 No.    23-15863
ELECTRIC COMPANY, Reorganized
Debtors,                                        D.C. No. 4:22-cv-02833-HSG
                                                Northern District of California,
                Appellants,                     Oakland

 v.                                             ORDER

CALIFORNIA DEPARTMENT OF
WATER RESOURCES,

                Appellee.

      Pursuant to the stipulation of the parties (Docket Entry No. 8), this appeal is

voluntarily dismissed. Fed. R. App. P. 42(b). The parties shall bear their own

costs and attorneys’ fees on appeal.

      A copy of this order shall serve as and for the mandate of this court.


                                              FOR THE COURT:

                                              By: Roxane Ashe
                                              Circuit Mediator
